






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00158-CV






Dottie Martinez, Appellant


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 146TH JUDICIAL DISTRICT

NO. 239,549-B, HONORABLE RICK MORRIS, JUDGE PRESIDING




O R D E R




PER CURIAM


	Appellant Dottie Martinez filed her notice of appeal on March 15, 2012.  The appellate
record was complete on March 22, 2012, and the Court extended the time for filing appellant's
brief&nbsp;to April 18, 2012.  On March 27, 2012, appellant's counsel filed a motion seeking an extension
of time to file the brief until April 28, 2012.

	Recent amendments to the rules of judicial administration accelerate the final
disposition of appeals from suits for termination of the parent-child relationship.  See Tex. R. Jud.
Admin. 6.2(a),&nbsp;available at http://www.supreme.courts.state.tx.us/MiscDocket/12/12903200.pdf
(providing 180 days for court's final disposition).  Accordingly, we grant the motion for extension
of time and order counsel to file appellant's brief no later than April 30, 2012.  If the brief is not filed
by that date, counsel may be required to show cause why he should not be held in contempt of court.

	It is ordered on April 4, 2012.


Before Justices Puryear, Henson and Goodwin


